 

COMPLAINT

(for filers Who are prisoners without lawyers)

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

 

 

' (Full name of plaintift(s))

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V. / Case Number:
1 9"0-0 1 0 3

(to be supplied by Clerk of Court)

 

(Pull name of defendant(s))
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A. PARTIES

1. Plaintiff is a citizen of \S\::LC>CQM §>Tj`_i l and is located at
(state)

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(Addres_s of prison or jail)
(If more than one plaintiff is filing, use another piece of paper.)

2. n Defendant \Q‘,§% ECQ‘\ *»*i;>("l:\§\\£)\i\\<_") 14 ¢\.

(Name)

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is (if a person or private corporation) a citizen of\\§l gail M<J hal
` (State, if known)

and (if a person) resides at \\,`.)§:;§»‘MY \_/`1 M(“£)\}~\ 65 till\k\§€>v\§§u\\ \l\\':» %Sci Q’ 3
zAddress, if known)

and (if the defendant harmed you While doing the defendant’s job)

Work€dfor`f)c>&t `)<.l."§" WMEZ \l~/l€: \\\ C`)(: prime ec4»\<i\l%

(Employer’ s name and address, if knoWn)
(lf you need to list more defendants, use another piece of paper.)
B. STATEMENT OF CLAI.M
On the space provided on the following pages, ~'tell:
Who violated your rights ; '
What each defendant did,‘
When they did it;
Where it happened; and
Why they did it, if you knoW. ,
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C. JURISDICTIoN

d ltd l am suing for a violation of federal law under 28 U.S.C. § 1331.
OR
4 l am suing under state law. The state eitizenship of the plaintiff(s) is (are)

different from the state citizenship of every defendant and the amount of
money at stake in this case (not counting interest and Costs) is

$

D. RELIEF WANTED

Desorrbe Whar you Wanr the Courr to do rf you Wrn your lawsuit Exarnples may

indude an award or money or an order telling defendaan to do eornerning or to

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E. JURY DEMAND

 

, lwant a jury to hear my case.

-_ YES

 

l declare under penalty of perjury that the foregoing is true and correct

Complaint signed this la 9 day Of KBQ\KAOF \l _ 20 \C\ .

Respectfully Submitted,

fiat

 

M "Da/unr£i? 77&1;¢;5

Signature of Plaintiff

mcf/20a

Plaintiff’s Prisoner ID Number
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P_o.`nn\i C)§Q\\ \)l§ \\.\\il \,li:t,, "§§§ 105

(Mailing,AddresS of Plaintiff)

(lf more than one plaintiff, use another piece of paper.)

REQUEST TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING THE

FULL FILING FEE

l DO request that l be allowed to file this complaint Without paying the filing fee.
l have completed a Request to Proceed in District Court Without Prepaying the
Full Filing Fee form and have attached it to the complaint

|:j IDO NOT request that l be allowed to file this complaint Without prepaymg the
filing fee under 28 U.S.C. § 1915, and l have included the full filing fee With this

complaint

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